Case 4:20-cv-00957-SDJ Document 239-1 Filed 02/14/24 Page 1 of 3 PageID #: 6175




                                 EXHIBIT
                                    1
        Case 4:20-cv-00957-SDJ Document 239-1 Filed 02/14/24 Page 2 of 3 PageID #: 6176

Moran, David

From:                                Moran, David
Sent:                                Tuesday, February 13, 2024 3:42 PM
To:                                  Zeke DeRose Ill
Cc:                                  Mark Lanier; Ashley Keller; Eric Mahr; MCCALLUM, Robert; Bracewell, Mollie; Nilsson,
                                     William (DAL)
Subject:                             RE: Texas v. Google EDTX: Unopposed Request for Page Extension+ Exhibits Under Seal



Mr. DeRose:

Thank you for the email.

1. The Page Extension Request is granted. The parties are allotted a total of 15 pages for opening and
response briefs. Under these circumstances, no separate formal motion for the extension is needed to be
filed on the docket; this ruling operates to satisfy any motion requirement.

2. The proposed procedure to file the motion under seal pursuant to the Local Rules is appropriate
under these circumstances. And I remind the parties to comply with the Order of Special Master (Dkt.
227) as to paragraph 4 on pages 2-3.

David Moran
Special Master

From: Zeke DeRose Ill <Zeke.DeRose@LanierLawFirm.com>
Sent: Tuesday, February 13, 2024 2:58 PM
To: Moran, David <dmoran@jw.com>
Cc: Mark Lanier <Mark.Lanier@LanierLawFirm.com>; Ashley Keller <ack@kellerpostman.com>; Eric Mahr
<eric.mahr@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; Bracewell, Mollie
<mbracewell@yettercoleman.com>; Nilsson, William (DAL) <wnilsson@jw.com>
Subject: Texas v. Google EDTX: Unopposed Request for Page Extension+ Exhibits Under Seal

I   Caution: **External Email. Take care when opening links or opening attachments.

Dear Special Master Moran,

As the Plaintiff States prepare their submission to you today, two issues have arisen that the States request your guidance on in
advance of the 5 pm deadline today. We have conferred with Google on both issues below and Google does not oppose the requests:

    •    Page Extension Request: Given the number of issues in our submission, the States require an additional 5 pages of briefing,
         totaling 15 pages, for their submission. The States do not oppose Google getting the same page count for its response
         brief. The States have conferred with Google, which does not oppose this request provided that the States agree to Google
         receiving the same page count (which they do). While we have emailed you directly with this request, please let us know if
         the States should also file a motion to extend the page limit with the Court as well. We will await your guidance before
         making such a filing.

    •   Motion to Seal: The States' submission and exhibits cite confidential or highly confidential Google documents. For that
        reason, we will file ow- submission and exhibits under seal, preceded by a Motion to Seal and followed by publicly filed
        redacted versions within 7 days, pursuant to the E.D. Tex. Local Rules. The States have conferred with Google, which does

                                                                 1
      Case 4:20-cv-00957-SDJ Document 239-1 Filed 02/14/24 Page 3 of 3 PageID #: 6177
         not oppose the sealing, and the States plan to confer with Google before publicly filing redacted versions. Please let us know
         if we should follow a different procedure for filing submissions to you under seal.

Thank you for attention to these matters.

Zeke DeRose




            ;(i            Zeke DeRose Ill
                           Attorney
                           p: 713-659-5200
                           10940 West Sam Houston Pkwy N, Suite 100
                           Houston• Texas• 77064
                           www.LanierLawFirm.com


    -------------- -




                                                                  2
